        Case 1:09-cr-00041-JL   Document 168   Filed 03/10/11   Page 1 of 1




                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 09-cr-41-03-JL

Dionaliz Rodriguez Brito


                                   O R D E R


        The assented to motion to reschedule jury trial (document no.

166 ) filed by defendant is granted; Final Pretrial is rescheduled

to May 30, 2011 at 10:00; Trial is continued to the two-week period

beginning June 7, 2011, 09:30.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                           _______________________________
                                           Joseph N. Laplante
                                           United States District Judge

Date: March 10, 2011



cc:   Neil Faigel, Esq.
      Alexander R. Cain, Esq.
      Debra M. Walsh, AUSA
      Donald A. Feith, AUSA
      U.S. Marshal
      U.S. Probation
